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          EXHIBIT A
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152640/2025 - New York County Supreme Court
 Short Caption: Laura Buck v. Tal Alexander et al
 Case Type: Torts - Gender-Motivated Violence Act (GMVA)
 Case Status: Pre-RJI
 eFiling Status: Partial Participation Recorded

     E-mail Participating Parties


                                                               Print Document List
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 Document Type:                                                   Filed By:



 Motion Info:                                                     Filed Date:

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 Document #:

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#    Document                                               Filed By                  Status
 1   SUMMONS + COMPLAINT *Corrected*                        BROWN, BRENDAN            Processed
     Verified Summons and Complaint                         WAYNE                     Confirmation Notice
                                                            Filed: 02/27/2025
                                                            Received: 02/28/2025

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               SUPREMECOURTOFTHESTATEOFNEWYORK
               COUNTYOFNEWYORK                                                               Index No.
               _____----------___________________________________________________-Ç
               LAURABUCK,                                                                    Date Filed:


                                                      Plaintiff,                              SUMMONS
                                   -against-                                                  Plaintiff     designate
                                                                                             New York County as the
               TAL ALEXANDER
                           and OREN
                                  ALEXANDER,                                                 place of trial


                                                                                              Venue is based on
                                                      Defendants.
                                                                                             Plaintiff's     residence
               ___________________________________________________________________Ç




               To the above-named Defendants:

                           YOUAREHEREBY
                                      SUMMONED                        to answer the complaint in this action and to
               serve a copy of your answer, or, if the complaint is not served with this summons,to serve a
                                             plaintiffs'
               notice of appearance, on the                  attorneys within 20 days after the service of this
               summons,   exclusive  of the day  of   service    (or within 30 days after the service is complete if
               this     summons is not personally        delivered   to you within      the State of NewYork); and in case
               of your failure     to   appear or answer, judgment          will   be taken against you by default for the
               relief    demanded in the complaint.

               Dated:     NewYork, New York
                           February 26, 2025

                                                                                              Torgan Cooper & Aaron, P.C.
               Defendants'
                                 Addresses:


               Tal Alexander
               Metropolitan       Detention    Center                                         By:
               80 29* Street                                                                               Brendan Bro vn
               Brooklyn, NY 11232                                                             Attorneys       for Plaintiff
                                                                                              17 State Street,
                                                                                                                     39* Floor
               Oren Alexander                                                                 New York, NewYork 10004
               Metropolitan   Detention Center
                                                                                              (212) 232-2500
               80 29th Street
               Brooklyn, NY 11232




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         SUPREMECOURTOFTHESTATEOFNEWYORK
         COUNTYOFNEW YORK
          _____________--------__---________________________________________-Ç
          LAURABUCK,

                                                                 Plaintiff,                                                    Index No.

                                     -against-

                                                                                                                               VERIFIED COMPLAINT
          TAL ALEXANDER
                      and ORENALEXANDER,


                                                                 Defendants.
          ___---------..__------------------_..----------------------------_____Ç



                       Plaintiff,       by her attorneys,                Torgan Cooper & Aaron,                     P.C.,      complaining    of the defendants,

          alleges      upon infonnation                 and belief,           as follows:



                                                                                      INTRODUCTION
                       1.           This      action       arises        from the sexual               assault    of Laura Buck by defendants               Tal and

                                                              "Tal"
          Oren Alexander               (hereinafter                       or "Oren"),           together with another individual,             on or about March

          5,   2010.     On that day, Tal Alexander and Oren Alexander violated                                             her bodily     autonomy and human

          dignity      irrevocably           altering        the course             of her life.

                       2.            Following           the assault,          Laura did everything                in her    power to report       Tal and Oren's

          criminal          conduct.       These pleas             for    help       fell    on deaf ears. Despite her best efforts,               Tal ultimately

          threatened Laura with a defamation lawsuit                                         if she revealed      that   he had sexually       assaulted her.


                       3.            In the years that followed,                            Laura was left       to question      whether she would ever see

          the defendants             held accountable                   for their       actions,       wondering     if this    was an isolated     incident,   or if


          others      had suffered            at the hands of the Alexander Brothers                              as she had.


                       4.            As shown, this                is    a civil       action      commenced pursuant              to the    Victims   of Gender-

          Motivated           Violence           Protection              Law, NYC Admin. Code §§ 10-1101,                                et seq.   ("VGMVPL")


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         seeking compensatory and punitive                        damages to redress              the injuries      Plaintiff       has bravely     endured,

         and will         continue    to endure,          as a result   of the sexual        assault      and other sexual offenses                 set out in


         Article      130 of the NewYork Penal Law, by defendants Tal and Oren Alexander                                               at their    apartment


         located      at   55   W2602 Street, NewYork, NewYork 10010.
                                                              PARTIES& JURISDICTION

                     5.          Plaintiff   Laura Buck is a resident              of NewYork County and domiciliary                              of the State

         of NewYork.

                     6.          Defendant Tal Alexander was a resident                           of the County of NewYork in the State of

         NewYork on March 5, 2010, and is currently                            residing          in Brooklyn,      NewYork at the Metropolitan

         Detention          Center.


                     7.          Defendant Oren Alexander was a resident                           of the State of NewYork, County of New

         York on March 5, 2010, and is currently                        residing       in Brooklyn,       NewYork at the at the Metropolitan

         Detention          Center.


                      8.         The Court has personal                 jurisdiction        pursuant         to   Civil     Practice     Law and Rules

          ("CPLR")          § 302, inter     alia,        because the Defendants are domiciled                     in     New York and/or regularly

          transact        business within      the State of NewYork in their                      capacity    as real      estate    brokers.


                      9.         Venue is proper              in this   County pursuant              to   CPLR § 503, as Plaintiff                  currently


          resides     in   NewYork, NewYork.

                                                               FACTUALALLEGATIONS
                      10.        In March of 2010, Laura was a 20-year-old                           college student with limited                 experience


          living     in    New York City.            It   was around this time            that    she was first           introduced     to Tal     and Oren

          Alexander.




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                        11.         OnMarch 5, 2010, Tal invited                             Laura to join him for a dinner                       date,   to which          Laura

         agreed.        Following           the meal,         Tal extended an invitation                            to   Laura to return       to the apartment             where

         he and Oren lived.

                                                                                                                                                                      1,"
                        12.         Upon entering the apartment,                            Laura noticed                  that   Oren and "Perpetrator                      were

         present in the living                 space.         After       hanging out for a while,                        and in order        to get   some privacy,          Tal


         suggested that Laura accompany him to his bedroom. Once inside,                                                           they were getting         to know each


         other,        and Laura felt          that      it   was the beginnings                   of a romantic              relationship.      During      this    time,    Tal


         suggested that they                  smoke some marijuana and Laura agreed.

                        13.         Tal then prepared a bong and smoked from it. Laura then observed Tal putting                                                                  a


         powdery-like              substance       on top of the marijuana.                        She asked him what he was doing, and he replied

         that     it   was just      resin.    Trusting          his representations,                  Laura smoked from the bong.

                        14.          Within minutes,                  Laura describes              feeling           out of it, fatigued,         and having         difficulty


         moving.          It    was not long until she began losing                           control           over her muscles. While Laura had smoked

         marijuana on previous                   occasions,               this    experience           felt   completely          different     from anything          she had


         encountered              before.


                        15.          As Laura began to                           lose   control,          Tal       became more sexually                  aggressive,         and

         suddenly,             Oren and Perpetrator                   1   emerged through the bedroom door, maniacally and frantically

         laughing              in high-pitched           sounds like hyenas. Both men were fully                                      naked and wearing condoms

         seemingly ready                to rape her,            all   the while         Perpetrator             1    was holding       a camera pointed             in Laura's


         direction.


                        16.          Laura's      life        flashed before            her eyes, and she was in extreme fear for her life                                    and

         safety.        As Oren and Perpetrator                       1   were in the room, Tal held her down and forcefully                                        penetrated


         her with his finger.




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                       17.           Drawing        on all her remaining power, Laura broke free of Tal's                                                 grip     and began

         repeating       over and over that she needed to go. Finally,                                    Oren left        the    room and Laura scrambled to

         get dressed.          Tal then followed her out of the apartment and into the hallway,                                                where Laura told him

         how sick and incestuous                    it   was for them to be relatives                     trying     to   engage in a sex act while all naked

         together.           Tal responded,              why wouldn't             I   want to see [Perpetrator                     1(although            using his name)]

                                                     c--k."
         naked, he has a "nice fat

                       18.           Unfortunately,             the sedative          and hallucinatory               effects       of the drug had taken                  hold.


         Laura struggled                 to walk,   asking strangers              for directions           she ordinarily            would have known handily.

         Disconnected from her body and mind, she ultimately                                                  got herself          home. Notably,                Laura had a

         limited       memory of getting                  home that evening.

                       19.           The next day Laura came to confused,                                          disassociated           and distraught.            Feeling


         completely           violated,       she made her way to a local                         hospital.


                       20.           While     there       she reported          the assault,           asked to file         a police         report,     and repeatedly

         requested a drug screen.                   Unfortunately,             once the police            arrived,        they refused to file            a report,    instead


         blaming        the victim           for voluntarily              smoking marijuana,                and insisting           that   she had no recourse.               To

         make matters worse, the hospital                             failed    to run a drug screen.


                       21.           Following           her visit        to the hospital,         Laura ultimately               contacted       Tal to confront           him

         and    tell     him how outraged                           she    was with       his          behavior       and        treatment.        When this proved

         unproductive,               and she realized           he was unrepentant                 and dangerous, Laura came back to the building

         and wrote with red                   lipstick        all    over the apartment hallway walls                              in big      bold      letters   that,    "Tal

                                         Rapist"                                                       Rapist."
         Alexander            is     a              and "Oren Alexander                      is    a                  As a result,            Tal threatened          her and


         ultimately          filed       a one-sided       police report citing              her for harassment.




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                       22.       In addition,          Laura also      sent     numerous messages to many of the                           brother's      friends


         and acquaintances                describing        the sexual assault           and telling      them that Tal had attempted                     to   drug

         and rape her,         as she did not           want other        womento suffer              the same fate.       She even linked an article

         believed        at the time to        have been published               in the      Miami Herald purportedly                describing          the rape

         of a 14-year-old          girl      at the hands of the           Alexander Brothers while               still   in   high school.

                       23.       Laura also contacted                Tal's     mother,       to    inform her that she had raised                  a bunch of

         rapists.       She sent her the samearticle,                believed       at that time to be from the Miami Herald,                      describing

         their   actions.


                       24.       In an effort          to silence    Laura,       Tal told her that his mother had terminal                        cancer and


         that she should leave her alone.                    Thereafter,       Tal threatened          to sue Laura if she continued                   contacting

         his friends         and family        about the assault.

                                                             FIRST CAUSEOFACTION
                                                             ASAGAINST DEFENDANT
                                             (NYC Gender-Motivated                       Violence Protection              Law)


                       25.       Plaintiff       repeats and realleges              each and every           allegation        set forth     above with         the


         same force and effect                as if fully     set forth      herein.

                                 Defendants'
                       26.                              conduct,     sexual assault          and abuse of Plaintiff,             constitutes      a "crime of

                                                 gender"
         violence        motivated by                          against       Plaintiff       as defined      by the       NYCVictims              of Gender-

                                                                                                      Defendants'
         Motivated           Violence Protection              Law,    NYC § 10-1103.                                      actions    were motivated by

         Plaintiff's         gender, on the basis of her gender, and due, at least in part, to an animus based on her

         gender.

                                 Defendants'
                       27.                              conduct,      sexual       assault        and abuse of Plaintiff,           constitutes          a sexual


         offense as defined               in Article     130 of the NewYork Penal Law.

                       28.       Defendants committed crimes of violence                               against Plaintiff        because she is a female



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                                                                                                                                        Defendants'            gender-
         and, at least          in     part,     because they each had an animus toward women.

         motivated animus towards                       women is evinced                  by,    among other               things,     their     humiliating        and

         degrading          sexual assault         and abuse of the Plaintiff.

                      29.           As a result        of the foregoing                 crime of violence                and gender-motivated              violence


         perpetrated         by defendants,           Plaintiff       sustained         physical       injury,     severe psychological              trauma, pain

         and suffering,              emotional        injuries,       monetary damages, and has,                           and will         continue     to,     suffer


         depression,           anxiety,          emotional        distress,       anguish,         ridicule,        embarrassment,              humiliation         and

         degradation,          loss     of enjoyment of life,           and has been greatly                   injured    in her reputation         and character

         and her injuries             will     be permanent in nature and effect                      and has sustained damages in an amount to

         be determined at the time of trial.

                      30.           Accordingly,          Plaintiff         therefore         seeks      compensatory                and punitive        damages,

         attorney's         fees,    and costs, and any such other relief                       the   Court deems appropriate.

                      WHEREFORE,Plaintiff                         requests       judgment          against        Defendants          for      compensatory and

         punitive       damages on each cause of action                             in the      complaint          in    an amount which exceeds the

         monetary jurisdiction                   of all other      courts      which would otherwise                     have jurisdiction,         together       with


         interest,     costs        and disbursements             of this     action.



         Dated:       NewYork, NewYork
                      February         1, 2025
                                                                                                 Torgan Cooper & Aaron, P.C.



                                                                                                 By:       (
                                                                                                                 Brendan Brown, Esq.
                                                                                                 Attorneys         for Plaintiff
                                                                                                 17 State Street,           39th Floor
                                                                                                 NewYork, NewYork 10004
                                                                                                 (212) 232-2500




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                                                                   VERIFICATION


         STATE OF Texas                      )


                                             )     ss.:


         COUNTYOF Harris


                   Laura Buck, being duly sworn, deposes and says:                           I   am the plaintiff    in the within   action;   I


         have read the Complaint and know the contents                          thereof;     the same is true to my own knowledge,

         except as to the matters        therein          stated   to   be alleged on information             and belief,   and as to those

         matters   I   believe   them to be true.




                                                                                                 I   aura Buck



         Sworn to before methis
           26 day of February 2025
                                                                               ANALAURASALAZARURIBE
                                                                             o1 ELECTRONIC
                                                                                         NOTARY   PUBLIC
                                                                                    STATEOFTEXAS
                                                                                  NOTARYID: 131757026
                                                                   ,    or      COMISSION
                                                                                        EXP: OCT11, 2026



              Notary Public

          DocumentNotarized        using a Live Audio-Video             Connection




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